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 6
     Attorneys for the
 7    United States of America
 8

 9
                              IN THE UNITED STATES DISTRICT COURT
10
                             FOR THE EASTERN DISTRICT OF CALIFORNIA
11

12
     UNITED STATES OF AMERICA,                            CASE NO. 1:15-CR-00045-LJO-SKO
13
                Plaintiff,                                APPLICATION TO MODIFY
14                                                        SUPERSEDING INDICTMENT AND
        v.                                                DISMISSAL OF SUPERSEDING
15                                                        INDICTMENT
     SUNITA SINGH
16                                                        DATE: TBA
                Defendant.                                TIME: TBA
17                                                        COURTROOM: FOUR
18
19

20                    APPLICATION TO DISMISS SUPERSEDING INDICTMENT
21
             Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure, the United States of
22
     America, by and through McGregor W. Scott, the United States Attorney for the Eastern District
23
     of California, and Assistant United States Attorneys, Henry Z. Carbajal III and Vincente A.
24
     Tennerelli, hereby seeks leave of court to file a dismissal without prejudice and in the interest of
25
     justice the Superseding Indictment against, and only against, Sunita Singh and Counts One, Two,
26
27 / / /

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29                                                    1
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           Case 1:15-cr-00045-LJO-BAM Document 217 Filed 07/26/19 Page 2 of 2


 1 and Twelve as to, and only as to, Sunita Singh, in Case No. 15-cr-00045 LJO.

 2 Dated: July 25, 2019                                  MCGREGOR W. SCOTT
                                                         United States Attorney
 3
                                                 By:     /s/HENRY Z. CARBAJAL III
 4                                                       HENRY Z. CARBAJAL III
 5                                                       Assistant U.S. Attorney

 6

 7                          DISMISSAL OF SUPERSEDING INDICTMENT

 8
            By leave of court, and pursuant Federal Rule of Criminal Procedure 48(a), the United
 9
     States Attorney dismisses without prejudice the Superseding Indictment in this matter against,
10
     and only against, Sunita Singh and Counts One, Two, and Twelve as to, and only to, Sunita
11
     Singh, in Case No. 15-cr-00045 LJO.
12

13 Dated: July 25, 2019                                  MCGREGOR W. SCOTT
                                                         United States Attorney
14
                                                 By:     /s/HENRY Z. CARBAJAL III
15                                                       HENRY Z. CARBAJAL III
16                                                       Assistant U.S. Attorney

17
                                                 ORDER
18
19          IT IS SO ORDERED, that upon application of the United States Attorney and in the

20 interest of justice, the United States Attorney dismisses without prejudice the Superseding

21 Indictment in this matter against, and only against, Sunita Singh and Counts One, Two, and

22 Twelve as to, and only as to, Sunita Singh, in Case No. 15-cr-00045 LJO.

23
     IT IS SO ORDERED.
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        Dated:     July 26, 2019                          /s/ Lawrence J. O’Neill _____
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                                                 UNITED STATES CHIEF DISTRICT JUDGE
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